68 F.3d 460
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Emily HAGA, Widow of Luchen G. Haga, Petitioner,v.DIRECTOR, OFFICE OF WORKERS' COMPENSATION PROGRAMS, UNITEDSTATES DEPARTMENT OF LABOR, Respondent.
    No. 94-2444.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Sept. 26, 1995.Decided:  Oct. 17, 1995.
    
      Emily Haga, Petitioner Pro Se.
      Karen Nancy Blank, Christian P. Barber, UNITED STATES DEPARTMENT OF LABOR, Washington, D.C., for Respondent.
      Before WILKINS, HAMILTON, and LUTTIG, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant seeks review of the Benefits Review Board's decision and order affirming the administrative law judge's denial of black lung survivor's benefits pursuant to 30 U.S.C.A. Secs. 901-945 (West 1986 &amp; Supp.1995).  Our review of the record discloses that the Board's decision is based upon substantial evidence and is without reversible error.  Accordingly, we affirm on the reasoning of the Board.  Haga v. Director, Office of Workers' Compensation Programs, No. 93-1002-BLA (B.R.B. Oct. 31, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    